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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT HOLTON                                      :      CIVIL ACTION
        Plaintiff,                                 :
    v.                                             :      NO. 18-2228
                                                   :
BOBBY HENON, et al.,                               :
        Defendants.                                :

                                             ORDER

       AND NOW, this 9th day of March 2022, upon consideration of the Defendants’ Motion

for Summary Judgment (ECF No. 74) and Plaintiff’s Affidavit and Response in Opposition (ECF

Nos. 79, 80), as well as the arguments made by counsel at Oral Argument (see ECF No. 98) it is

hereby ORDERED that for the reasons set forth in the accompanying Memorandum, Plaintiff’s

Motion for Summary Judgment is GRANTED.

       The Clerk of Court is hereby ORDERED to close the case.



                                                   BY THE COURT:

                                                   /s/ Chad F. Kenney

                                                   CHAD F. KENNEY, JUDGE
